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                          IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH CAROLINA
                                 SPARTANBURG DIVISION

 TEKNA FILL, INC.,                            )            C.A. No. 7:24-cv-03515-DCC
                                              )
                  Plaintiff,                  )         DEFENDANT’S ANSWER TO
                                              )        PLAINTIFF’S COMPLAINT AND
 v.                                           )             COUNTERCLAIMS
                                              )
 NATIVE PET INC.,                             )           (JURY TRIAL DEMANDED)
                                              )
                  Defendant.                  )


         Defendant Native Pet Inc. (“Defendant” or “Native Pet”), by and through its undersigned

attorneys, hereby submits its Answer in response to the Complaint of Plaintiff Tekna Fill, Inc.

(“Plaintiff” or “Tekna”). All references to paragraph numbers are to the numbered paragraphs in

the Complaint.

                          RESPONSE TO NATURE OF THIS ACTION

         1.      In response to Paragraph 1 of the Complaint, Defendant admits only that Plaintiff

purports to seek the relief described in Paragraph 1 but denies that Plaintiff is entitled to any such

relief. Defendant denies the remaining allegations in Paragraph 1.

         2.      Defendant denies the allegations contained in Paragraph 2 of the Complaint.

         3.      In response to Paragraph 3 of the Complaint, Defendant admits that Tekna

demanded payment of certain invoices. Defendant denies the remaining allegations in Paragraph

3.

                  RESPONSE TO PARTIES, JURISDICTION, AND VENUE

         4.      Defendant admits the allegations of Paragraph 4 of the Complaint.

         5.      Defendant admits the allegations of Paragraph 5 of the Complaint.
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       6.       In response to the allegations of Paragraph 6 of the Complaint, Defendant states

that it has removed this case to the United States District Court for the District of South Carolina,

Spartanburg Division, and alleges that this Court has jurisdiction over the parties and subject

matter of this case. Defendant lacks knowledge or information sufficient to form a belief as to the

truth of the allegations of Paragraph 6 of the Complaint and, therefore, denies them.

       7.       In response to the allegations of Paragraph 7 of the Complaint, Defendant states

that it has removed this case to the United States District Court for the District of South Carolina,

Spartanburg Division, and alleges that venue is proper before this Court. Defendant lacks

knowledge or information sufficient to form a belief as to the truth of the allegations of Paragraph

7 of the Complaint and, therefore, denies them.

                                     RESPONSE TO FACTS

       8.       Defendant lacks knowledge or information sufficient to form a belief about the truth

of the allegation(s) of Paragraph 8 of the Complaint and, therefore, denies them.

       9.       In response to the allegations of Paragraph 9 of the Complaint, Defendant admits

only that it sells pet supplements. Defendant denies any remaining allegations in Paragraph 9.

       10.      Defendant denies the allegations contained in Paragraph 10 of the Complaint.

       11.      In response to the allegations of Paragraph 11 of the Complaint, Defendant admits

only that it was to pay for certain components and packaging and that Defendant provided all

ingredients for the manufacture of the products. Defendant denies any remaining allegations in

Paragraph 11.

       12.      In response to the allegations of Paragraph 12 of the Complaint, Defendant admits

only that it was to pay for certain components and packaging and that Defendant provided all

ingredients for the manufacture of the products. Defendant denies any remaining allegations in

Paragraph 12.


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       13.      Defendant denies the allegations contained in Paragraph 13 of the Complaint.

       14.      In response to the allegations of Paragraph 14 of the Complaint, Defendant admits

only that Jodie Fung, Native Pet’s Manager of Quality and Sustainability, visited Tekna’s

manufacturing facility located in Cowpens, South Carolina, for a Manufacturer Audit in November

2022, and that Roberta Roberts, Native Pet’s Co-manufacturing Manager, visited the same Tekna

facility in March 2023 for a follow-up audit. Defendant denies any remaining allegations in

Paragraph 14.

       15.      Defendant denies the allegations contained in Paragraph 15 of the Complaint.

       16.      Defendant denies the allegations contained in Paragraph 16 of the Complaint.

       17.      In response to the allegations of Paragraph 17 of the Complaint, Defendant admits

only that it retained invoices Tekna sent, if and when Defendant received such invoices, and denies

any allegations inconsistent with as much.

       18.      Defendant denies the allegations contained in Paragraph 18 of the Complaint.

       19.      Defendant denies the allegations contained in Paragraph 19 of the Complaint.

       20.      In response to the allegations of paragraph 20 of the Complaint, Defendant admits

only that Mr. Barron was in communication with Mr. Nixon between December 2022 and April

2023 on a range of issues, including payment; Tekna’s production of defective, leaking products;

quality concerns with Tekna’s facility; and Tekna’s shipping and production delays. Defendant

denies any remaining allegations in Paragraph 20.

       21.      Defendant denies the allegations contained in Paragraph 21 of the Complaint.

       22.      In response to the allegations of Paragraph 22 of the Complaint, Defendant states

that the email referenced in Paragraph 22 speaks for itself and denies any allegations inconsistent

with the language and/or intent of that document.




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       23.      In response to the allegations of Paragraph 23 of the Complaint, Defendant admits

that it made payments on Tekna invoices.         Defendant denies any remaining allegations in

Paragraph 23.

       24.      In response to the allegations of Paragraph 24 of the Complaint, Defendant states

that the email referenced in Paragraph 24 speaks for itself and denies any allegations inconsistent

with the language and/or intent of that document.

       25.      The allegations in Paragraph 25 of the Complaint state conclusions of law to which

no response is required. However, to the extent any response is required, Defendant denies the

allegations in Paragraph 25.

       26.      In response to the allegations of Paragraph 26 of the Complaint, Defendant states

that the letter referenced in Paragraph 26 speaks for itself and denies any allegations inconsistent

with the language and/or intent of that document. Defendant lacks knowledge or information

sufficient to form a belief about the truth of the remaining allegations in Paragraph 26 and,

therefore, denies them.

       27.      In response to the allegations of Paragraph 27 of the Complaint, Defendant states

that the document referenced in Paragraph 27 speaks for itself and denies any allegations

inconsistent with the language of that document.

       28.      In response to the allegations of Paragraph 28 of the Complaint, Defendant states

that the email referenced in Paragraph 28 speaks for itself and denies any allegations inconsistent

with the language and/or intent of that document.

       29.      In response to the allegations of Paragraph 29 of the Complaint, Defendant states

that the email referenced in Paragraph 29 speaks for itself and denies any allegations inconsistent

with the language and/or intent of that document.




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       30.     The allegations in Paragraph 30 of the Complaint state conclusions of law to which

no response is required. However, to the extent any response is required, Defendant denies the

allegations in Paragraph 30.

       31.     The allegations in Paragraph 31 of the Complaint state conclusions of law to which

no response is required. However, to the extent any response is required, Defendant denies the

allegations in Paragraph 31.

       32.     Defendant denies the allegations contained in Paragraph 32 of the Complaint.

       33.     Defendant denies the allegations contained in Paragraph 33 of the Complaint.

       34.     Defendant denies the allegations contained in Paragraph 34 of the Complaint.

       35.     Defendant denies the allegations contained in Paragraph 35 of the Complaint.

       36.     Defendant denies the allegations contained in Paragraph 36 of the Complaint.

       37.     The allegations in Paragraph 37 of the Complaint state conclusions of law to which

no response is required. However, to the extent any response is required, Defendant denies the

allegations in Paragraph 37.

       38.     Defendant lacks knowledge or information sufficient to form a belief about the truth

of the allegations in Paragraph 38 of the Complaint and, therefore, denies them.

       39.     Defendant denies the allegations contained in Paragraph 39 of the Complaint.

       40.     Defendant denies the allegations contained in Paragraph 40 of the Complaint.

                      RESPONSE TO THE FIRST CAUSE OF ACTION
                                ACCOUNT STATED

       41.     In response to Paragraph 41 of the Complaint, Defendant incorporates by reference

its responses to all preceding Paragraphs of the Complaint, as if fully stated here.




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       42.     The allegations in Paragraph 42 of the Complaint state conclusions of law to which

no response is required. However, to the extent any response is required, Defendant denies the

allegations in Paragraph 42.

       43.     Defendant denies the allegations in Paragraph 43 of the Complaint.

       44.     Defendant denies the allegations in Paragraph 44 of the Complaint.

       45.     Defendant denies the allegations in Paragraph 45 of the Complaint.

       46.     The allegations in Paragraph 46 of the Complaint state conclusions of law to which

no response is required. However, to the extent any response is required, Defendant denies the

allegations in Paragraph 46

                    RESPONSE TO THE SECOND CAUSE OF ACTION
                              UNJUST ENRICHMENT

       47.     In response to Paragraph 47 of the Complaint, Defendant incorporates by reference

its responses to all preceding Paragraphs of the Complaint, as if fully stated here.

       48.     The allegations in Paragraph 48 of the Complaint state conclusions of law to which

no response is required. However, to the extent any response is required, Defendant denies the

allegations in Paragraph 48.

       49.     Defendant denies the allegations contained in Paragraph 49 of the Complaint.

       50.     The allegations in Paragraph 50 of the Complaint state conclusions of law to which

no response is required. However, to the extent any response is required, Defendant denies the

allegations in Paragraph 50.

       51.     The allegations in Paragraph 51 of the Complaint state conclusions of law to which

no response is required. However, to the extent any response is required, Defendant denies the

allegations in Paragraph 50.




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       52.     To the extent that the prayer for relief and/or “WHEREFORE” paragraph, including

the lettered sub-paragraphs that follow, are construed to require a response, Defendant denies that

Plaintiff is entitled to any relief in this action, as requested or otherwise; therefore, Defendant

denies any allegations contained in the prayer for relief and/or “WHEREFORE” paragraph,

including the lettered sub-paragraphs that follow.

                                      GENERAL DENIAL

       53.     Defendant denies each and every allegation set forth in the Complaint that is not

specifically admitted, modified, or explained hereinabove.

                                   FOR A FIRST DEFENSE

       54.     Defendant alleges that Plaintiff’s Complaint fails to state facts sufficient to

constitute a cause of action against it and should be dismissed pursuant to the provisions of Rule

12(b)(6) of the Federal Rules of Civil Procedure.

                                  FOR A SECOND DEFENSE

       55.     Plaintiff’s claims are barred in whole or in part by its failure of performance.

                                   FOR A THIRD DEFENSE

       56.     Plaintiff’s claims are barred in whole or in part because of its fraudulent

misrepresentations.

                                 FOR A FOURTH DEFENSE

       57.     Plaintiff’s claims are barred in whole or in part by unclean hands.

                                   FOR A FIFTH DEFENSE

       58.     Plaintiff’s claims may be barred, in whole or in part, by the doctrine of laches.

                                   FOR A SIXTH DEFENSE

       59.     Plaintiff’s claims are barred or offset, in whole or in part, by Defendant’s prior

payments and because Plaintiff owes Defendant money damages that exceed Plaintiff’s claims.


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                                  FOR A SEVENTH DEFENSE

          60.   Plaintiff’s claims are barred, in whole or in part, by the statute of frauds.

                                  FOR AN EIGHTH DEFENSE

          61.   Plaintiff’s claims are barred in whole or part by Plaintiff’s failure to mitigate its

damages, if any.

                                    FOR A NINTH DEFENSE

          62.   Plaintiff’s claims are barred in whole or in part by the doctrines of estoppel and/or

waiver.

                                    FOR A TENTH DEFENSE

          63.   Plaintiff’s claims are barred in whole or in part because any and all conduct of

Defendant was justifiable, reasonable, authorized by law, and performed in good faith with the

belief that such acts were proper, legal, and appropriate.

                                FOR AN ELEVENTH DEFENSE

          64.   Plaintiff’s claims are the result of its own conduct, legal and/or illegal.

                                  FOR A TWELFTH DEFENSE

          65.   Plaintiff’s claims may be barred, in whole or in part, by its own actions or fault,

which fault exceeds the fault, if any, of Defendant.

                                FOR A THIRTEENTH DEFENSE

          66.   Defendant reserves the right to add or delete any affirmative defenses and statutory

limitations, as investigation, discovery, or trial progresses, and as permitted by the Federal Rules

of Civil Procedure.

          WHEREFORE, having fully answered the Complaint, Defendant respectfully requests

that the Court dismiss Plaintiff’s Complaint or that judgment be entered in Defendant’s favor and




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against Plaintiff on all claims, award Defendant its reasonable attorney fees and costs, if applicable,

and award Defendant such other and further relief as the Court deems necessary and proper under

the circumstances.

                                   *              *               *

                  COUNTERCLAIMS AND DEMAND FOR JURY TRIAL

       Defendant/Counterclaim Plaintiff, Native Pet Inc. (“Native Pet”), for its counterclaims

against Plaintiff/Counterclaim-Defendant Tekna Fill, Inc. (“Tekna”) alleges and states as follows:

                           PARTIES, JURISDICTION, AND VENUE

       1.      Native Pet is a corporation incorporated under the laws of the State of Missouri

with its principal place of business located at 2315 Locust Street, Saint Louis, Missouri 63103.

       2.        Tekna is a corporation incorporated under the laws of the State of Wyoming, with

its principal place of business located at 140 Metro Drive, Spartanburg, South Carolina 29303.

       3.      This Court has original jurisdiction pursuant to 28 U.S.C. § 1332(a) and § 1441(b),

because there is complete diversity of citizenship between the parties, and the amount in

controversy, exclusive of interest and costs, exceeds the sum of $75,000.

       4.      This Court has personal jurisdiction over Tekna, because it maintains its principal

place of business, and therefore conducts business, in South Carolina. S.C. Code Ann. § 36-2-802.

       5.      Venue is proper in this District, because Tekna resides in this District, and a

substantial part of the acts and omissions giving rise to the claims occurred in this District.

28 U.S.C. § 1391(b).




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                                    GENERAL ALLEGATIONS

Native Pet Engages Tekna

       6.      Native Pet sells pet supplements online and in retail stores. Native Pet employs

high standards for its pet supplements, including a commitment to cleanliness, high-quality

ingredients, and professional development processes.

       7.      In November 2019, Native Pet and Tekna (a contract packager of liquids, powders,

and creams) signed a non-disclosure agreement “to explore a possible business relationship or

transaction” for Tekna to manufacture, package, and provide Native Pet with completed goods for

Native Pet to sell through its retail partners such as Amazon, Target, and Chewy.

       8.      Many months later, in the summer of 2020, Native Pet signed Tekna’s “Agreement

of Welcome Letter Terms” (“Agreement”), which provided the basic contours and terms of Tekna’s

manufacturing, packaging, and labeling of Native Pet’s products.

       9.      The Agreement specified that “a Purchase Order [would] be binding to the terms

outlined in the Welcome Letter.”

       10.     Payment terms were 50% due upon submission of a purchase order (“PO”) and the

remainder due upon shipping.

       11.     At the same time, Tekna requested, and Native Pet submitted, a “General Product

Specification Sheet.” There, Native Pet indicated that it wanted Tekna to manufacture its Omega

Oil supplement for dogs (see image of original packaging below) and specified the packaging,

ingredients, and mixing protocol.




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       12.     Native Pet emphasized that “[t]he biotin powder [would] require special attention

to make sure it [was] uniformly distributed.” To do so, Native Pet explained that biotin had to be

“thoroughly pre-mix[ed] . . . with fish oil in a small blender, [and] then mix[ed] . . . in [a] larger

blender for each batch.”

       13.     Tekna began manufacturing Native Pet’s Omega Oil supplement on or about April

2021, with Native Pet supplying all raw material ingredients, components, and packaging.

       14.     In an October 2021 email exchange, Native Pet’s founder, Mr. Barron, stressed to

Tekna’s Managing Director, Mr. Nixon, the critical importance of “maintain[ing] ship date

expectations . . . to prevent any stock outs” (i.e., when a product’s inventory is depleted faster than

it can be replenished) to avoid lost sales.

       15.     In May 2022, Native Pet provided its new packaging design to Tekna and agreed

that Tekna would supply the packaging (“tins”) and components (“pumps”) using their network of

packaging suppliers in China.

       16.     Despite Tekna’s delays with digital proofs and imaging—Native Pet submitted a

final packaging design (see new design below) to Tekna’s supplier in August 2022.




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Tekna’s Delays Cause Native Pet to Lose Sales

       17.    On September 20, 2022, Native Pet submitted Purchase Order 646 (“PO 646”) with

a “Delivery Date” of November 20, 2022, consisting of 45,000 tins and 45,000 pumps with the

new packaging design (see previous image).

       18.    On September 21, 2022, Native Pet paid Tekna over $8,000 for the packaging mold.

       19.    The next day, Native Pet paid Tekna 50% upfront on PO 646—over $30,000—with

the expectation that the products would be delivered to Tekna’s Cowpens facility by November

20, 2022, which was the agreed upon timeline.

       20.    Accordingly, Native Pet paid the balance of PO 646 on November 22, 2022.

       21.    The execution of PO 646 was critical to Native Pet’s retail success that year around

the holiday season and beyond.

       22.    But by early December 2022, Tekna had missed the November delivery date and

grew increasingly unresponsive to Native Pet’s requests for updates on the shipping timeline,




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which was critical, as Native Pet was launching its new brand (see previous image) at Target

Corporation nationwide the following month, in January 2023.

         23.   Some of the tins from PO 646 eventually arrived after the holidays in January 2023,

which was after Native Pet incurred the additional expense—over $8,000—of airfreight from

China.

         24.   As a result of PO 646’s significant delays and Tekna’s lack of communication, and

in order to secure its 2023 customer commitments to Amazon, Target, and Chewy, Native Pet

secured a secondary supplier for tins and pumps.

         25.   To avoid further lost sales, Native Pet incurred approximately $170,000 in air

freight costs to ship tins from its new supplier. This was the direct result of Tekna’s delays.

         26.   On January 20, 2023, Native Pet issued Work Order 474 (“WO 474”) for Tekna to

produce Native Pet’s Omega Oil supplement (i.e., Tekna would fill the tins and seal them with the

pumps, thereby producing finished goods).

         27.   WO 474 provided a production date deadline of February 28, 2023.

         28.   Native Pet shipped Tekna all the raw ingredients for WO 474 and planned to use

tins and pumps from PO 646.

         29.   But when WO 474 was due, Tekna informed Native Pet that it did not, in fact, have

the pumps for the tins—the same pumps ordered in PO 646 nearly six months earlier.

         30.   In text messages with Mr. Nixon, Mr. Barron stated that it was “unacceptable to not

have these . . . pumps” six months after they were ordered, and that the “situation [was] dire and

ha[d] had a big impact on [Native Pet’s] sales.”

         31.   Mr. Nixon responded that “[a]ny deficiencies in deliveries [would] be credited to

you.”




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       32.     On January 30, 2023, Native Pet had also issued Purchase Order 772 (“PO 772”)

for tins and pumps.

       33.     Native Pet wired a down payment to Tekna—over $35,000—and explicitly noted

that “PO 772 assumes a hard confirmation of Feb 28th ‘sail date’ that the manufacturer will commit

to.”

       34.     To Native Pet’s knowledge, PO 772 was never delivered to Tekna’s facility.

       35.     Tekna never refunded Native Pet’s $35,000 down payment.

       36.     Tekna’s complaint appears to ignore Native Pet’s $35,000 payment on PO 772 and

seems to include the balance of PO 772 as damages, even though the PO was never completed.

       37.     Tekna’s egregious delays were underscored by Mr. Nixon’s directive to Mr. Barron

that Native Pet should “put desired delivery dates on the PO[s] . . . to ensure that there are no

misunderstandings.”

       38.     Tekna’s delays caused Native Pet a significant number of lost orders with Amazon

and Chewy—conservatively estimated at $220,000 in lost orders.

       39.     Losing those orders also caused Native Pet reputational and brand damage.

Tekna’s Inadequate Facility Standards and Production

       40.     Native Pet requires its manufacturing partners to meet National Animal Supplement

Council (NASC) standards for their quality programs.

       41.     As part of its commitment to high standards, Native Pet audits its partners’ facilities.

       42.     In late November 2022, Native Pet sent its Manager of Quality and Sustainability,

Jodie Fung, to visit Tekna’s manufacturing facility located in Cowpens, South Carolina, for a

Manufacturer Audit.




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       43.     Ms. Fung’s report found “major documentation deficiencies” at Tekna’s facility and

recommended widespread corrective action, especially around facility and equipment cleaning and

maintenance logs.

       44.     The report also noted that “[n]o pest control records were available.”

       45.     Under procedural changes needed, the report stated that the auger, which is used

for mixing, needed a “[d]edicated location . . . to rest between use (off of floor).” (Emphasis added.)

       46.     In March 2023, as a follow-up, Native Pet sent its Co-manufacturing Manager,

Roberta Rogers, to visit Tekna’s manufacturing facility.

       47.     Ms. Rogers found dead vermin in water supplies, overflowing pest traps just outside

the production facility, and no actual pest control mechanisms in the production room.

       48.     Photos from Ms. Rogers’s site visit show an outdated pest control log from 2020

and a trap with what appears to be decomposing rodent remains near the production area.

       49.     Native Pet also learned that Tekna failed to follow the proper mixing protocol as

outlined in the General Product Specification Sheet and, instead, poured ingredients together

without any agitation, which negatively impacted the quality of the product.

       50.     Additionally, Tekna’s finished products (i.e., the Omega Oil supplement) were

routinely leaky, dented, or otherwise defective.

       51.     Native Pet observed these issues upon receipt and detailed these defects and

expressed concern in writing to Tekna.

       52.     Native Pet had to manage the risk of leaky products by foregoing business with

Amazon and Chewy—Native Pet’s two largest sales channels—because Tekna’s defective

packaging would not survive those retailers’ handling. Instead, Native Pet had to hope that, if

handled with extreme care, the packaging would survive the journey to Target stores.




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                                   FIRST COUNTERCLAIM
                                      (Breach of Contract)

        53.    The above allegations are realleged and incorporated as if fully set forth herein.

        54.    The Agreement, consisting of the Agreement of Welcome Letter Terms, Welcome

Letter, General Product Specification Sheet, POs, and WOs, constitutes a valid and enforceable

contract between Native Pet and Tekna.

        55.    Native Pet performed and satisfied the obligations it owed Tekna under the

Agreement, including payments on POs 646 and 772, as well as providing Tekna with mixing

protocols for the Omega Oil supplement.

        56.    Pursuant to the Agreement—specifically PO 646—Tekna provided a delivery date

of November 20, 2022, for 45,000 tins and 45,000 pumps.

        57.    Tekna breached the Agreement by failing to meet that delivery date, as the tins did

not arrive until January 2023 or later and the pumps did not arrive until sometime in late March

2023.

        58.    Pursuant to the Agreement—specifically PO 772—Tekna committed to a sail date

(i.e., shipping date) of February 28, 2023.

        59.    Tekna breached the Agreement by failing to meet that shipping date, and to Native

Pet’s knowledge, the contents of PO 772 were never delivered to Tekna’s facility.

        60.    Tekna also breached the Agreement by failing to follow Native Pet’s mixing

protocols as outlined in the General Product Specification Sheet.

        61.    Tekna’s breaches caused Native Pet to lose a substantial amount of retail orders and

sales and caused Native Pet reputational and brand damage.

        62.    As a direct and proximate result of Tekna’s material breaches of contract, Native

Pet has suffered damages in an amount to be determined at trial but in no event less than $390,000.



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                                   SECOND COUNTERCLAIM
                               (Implied Warranty of Merchantability)

       63.     The above allegations are realleged and incorporated as if fully set forth herein.

       64.     Tekna holds itself out as specializing in packaging and manufacturing liquids,

powders, and creams.

       65.     Native Pet entered into an Agreement with Tekna under which Tekna would

manufacture and sell completed goods to Native Pet—specifically the Omega Oil supplement.

       66.     Due to documented leaking issues, the goods produced by Tekna were not

merchantable at the time of sale.

       67.     Native Pet lost sales due to the leaking products Tekna produced resulting in

damages from lost profits as well as reputational and brand damage.

       68.     Tekna’s defective products proximately caused Native Pet damages.

       69.     Native Pet gave timely notice of the leaking products to Tekna.

       70.     As a direct and proximate result of Tekna’s breach of the implied warranty of

merchantability, Native Pet suffered damages in an amount to be determined at trial and irreparable

harm to Native Pet’s reputation and brand.

                                 THIRD COUNTERCLAIM
                          (Fraudulent Misrepresentation/Inducement)

       71.     The above allegations are realleged and incorporated as if fully set forth herein.

       72.     Tekna represented that its facilities were fully inspected and complied with

standards related to cleanliness, maintenance, and operations.

       73.     However, when Native Pet representatives visited Tekna’s facility, they found those

representations to be false.




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       74.     Because Native Pet adheres to high standards of quality, cleanliness, and

production, including NASC standards for quality programs, Tekna’s misrepresentations were

material to Native Pet’s business.

       75.     Tekna knew its representations were false or showed a reckless disregard for the

truth, as it was missing relevant maintenance and pest logs and documentation to support its

representations.

       76.     Tekna intended that Native Pet act upon its representations and engage Tekna for

the manufacture and production of Native Pet products.

       77.     Native Pet was unaware of the falsity of Tekna’s representation until Native Pet sent

its own representatives to inspect Tekna’s facility.

       78.     Native Pet was justified in relying on Tekna’s initial representations.

       79.     As a direct and proximate result of Tekna’s misrepresentations, Native Pet engaged

Tekna, rather than another packaging manufacturer that actually employed high-quality standards,

and suffered damages in the form of delays, unsatisfactory product, and reputational and brand

damage.

                                     PRAYER FOR RELIEF

       WHEREFORE, Native Pet respectfully requests the Court to award it the following relief:

       A.      That judgment be entered in its favor and against Tekna for all damages to which

Native Pet is entitled under the parties’ business relationship agreement and applicable law;

       B.      Reasonable attorneys’ fees and costs as permitted by the parties’ business

relationship agreement and/or applicable law;

       C.      Pre- and post-judgment interest; and

       D.      Such other and further relief as the Court deems just and proper.




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                                    DEMAND FOR JURY TRIAL

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Native Pet demands a trial

by jury on all issues so triable.

        Dated: July 11, 2024.

                                             /s/ C. William McGee
                                             C. William McGee (Fed. ID No. 5783)
                                             William P. Maurides (Fed. ID No. 13289)
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                                             Kevin C. McAdam (Application for pro hac vice
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